            Case 2:18-bk-20328-BB                    Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23                                      Desc
                                                      Main Document    Page 1 of 70

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 James F. Lewin (SBN 140268)
 Kelsey Luu (SBN 315593)
 THE MORTGAGE LAW FIRM, PLC
 27455 Tierra Alta Way, Ste. B
 Temecula, CA 92590
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 Kelsey.Luu@mtglawfirm.com
 TMLF File No. 141788




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                                                                               7,0(     10:00 a.m.

                                                                 'HEWRUV    &285752201539

 0RYDQW Seterus, Inc. as the authorized subservicer for Federal National Mortgage Association ("Fannie Mae"), its
          successors and/or assigns


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   JUDQWLQJUHOLHIIURPWKHDXWRPDWLFVWD\DVWR'HEWRUDQG'HEWRU¶VEDQNUXSWF\HVWDWHRQWKHJURXQGVVHWIRUWKLQWKH
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 :KHQVHUYLQJDUHVSRQVHWRWKHPRWLRQVHUYHDFRS\RILWXSRQWKH0RYDQW
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     'DWH 02/22/2019                                                             THE MORTGAGE LAW FIRM, PLC
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           Case 2:18-bk-20328-BB                    Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23                                      Desc
                                                     Main Document    Page 3 of 70

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           6HUYLFLQJDJHQWDXWKRUL]HGWRDFWRQEHKDOIRIWKH+ROGHURU%HQHILFLDU\
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 7KH3URSHUW\DW,VVXH3URSHUW\

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          &LW\VWDWH]LSFRGH Calabasas, CA 91302

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                                                     Main Document    Page 4 of 70
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         RIDQ\IXWXUHEDQNUXSWF\ILOLQJFRQFHUQLQJWKH3URSHUW\IRUDSHULRGRIGD\VIURPWKHKHDULQJRQWKLV0RWLRQ
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                         Main Document    Page 6 of 70




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Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                         Main Document    Page 7 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                         Main Document    Page 8 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                         Main Document    Page 9 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 10 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
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Debtor's Attorney: Rob R Nichols nicholslaw2000@yahoo.com
Trustee: Elissa Miller (TR) CA71@ecfcbis.com, MillerTrustee@Sulmeyerlaw.com;C124@ecfcbis.com
U.S. Trustee: United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov


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             Case 2:18-bk-20328-BB                Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23                                      Desc
                                                  Main Document    Page 13 of 70

CONTINUATION PAGE:

Motion: 4.a.(2)(F) and 6.d.

Real Property Declaration: 17.d. and 18. a.

Basis for Relief and Grounds for Bad Faith:

The Borrower under the subject Note and Deed of Trust (“Borrower”) has not made payments to Movant and has
caused Deeds to be recorded in order to hinder, delay and defraud Movant of its ownership and/or other interest
in the Property without the consent of Movant or court approval.

On or about February 20, 2008, MANOCHER MAJIDZADEH (the “Debtor”) executed a promissory note in the
original principal amount of $416,700.00 (the “Note”) which was made payable to the order of Bondcorp Realty
Services, Inc. (“Lender”). A true and correct copy of the Note is filed concurrently herewith as Exhibit A and
incorporated herein by reference. Seterus is in possession of the original Note, and the Note contains a blank
endorsement from the Lender.

The Note is secured by a deed of trust (the “Deed of Trust”) encumbering the real property located at 4740 Park
Granada #247, Calabasas, CA 91302 (the “Subject Property”). The Deed of Trust reflects that it was duly
recorded in Los Angeles County, California as Document #20080388142. A true and correct copy of the recorded
Deed of Trust is filed concurrently herewith as Exhibit B and incorporated herein by reference. Pursuant to the
Deed of Trust, attorneys’ fees and costs incurred as a result of the Debtor’s bankruptcy case may be included in
the outstanding balance under the Note.

The Deed of Trust was assigned to Movant. A true and correct copy of the Assignment is filed concurrently
herewith as Exhibit C and incorporated herein by reference.

On July 5, 2017, the Debtor fraudulently recorded a Quitclaim Deed purporting to transfer an interest in the
Subject Property to FARIBORZ ETTILELY as a bona fide gift for zero consideration. A true and correct copy
of the Quitclaim Deed is attached hereto as Exhibit E and is incorporated herein by reference.

On November 6, 2017, FARIBORZ ETTILELY, allegedly the CEO of Elite Health & Wellness and record owner of
the Subject Property, executed a Deed of Trust and Assignment of Rents Securing A Promissory Note (the “AOR
Number 1”) establishing a trust. The AOR Number 1 reflected that Elite Health & Wellness is the trustor,
SHAHRIAR ROSTAMI is the beneficiary, and Pars Arvin Construction Inc. is the trustee with certain rights and
duties in connection with the Subject Property. A true and correct copy of AOR Number 1 is attached hereto as
Exhibit F and is incorporated herein by reference.

On May 24, 2018, FARIBORZ ETTILELY whose address is purportedly the address of the Subject Property,
executed a second Deed of Trust and Assignment of Rents Securing a Promissory Note (the “AOR Number 2”)
establishing a trust. The AOR Number 2 reflected that wherein FARIBORZ ETTILELY is the Trustor and ALI
RAZAGHI is the beneficiary and trustee with certain rights and duties in connection with the Subject Property. A
true and correct copy of AOR Number 2 is attached hereto as Exhibit G and is incorporated herein by reference.

On September 5, 2018, MANOCHER MAJIDZADEH (the “Debtor”) filed the subject voluntary petition under Title
11, Chapter 7 of the United States Bankruptcy Code. However, the debtor did not list the subject property in the
schedules.

Debtor Has No Equity In The Property
11 U.S.C. 362(d)(2) provides that “on request of a party in interest and after notice and hearing, the court shall
grant relief from the stay ... with respect to a stay of an act against property ... if-(A) the debtor does not have an
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 June 2017                                                            Page 11E                                         F 4001-1.RFS.RP.MOTION
             Case 2:18-bk-20328-BB                Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23                                      Desc
                                                  Main Document    Page 14 of 70
equity in such property; and (B) such property is not necessary to an effective reorganization.” 11 U.S.C. §
362(d)(2).

The Ninth Circuit Court of Appeals has held that the proper definition of “equity” for purposes of § 362(d)(2)(A) is
the difference between the value of the property and all the encumbrances upon it. Stewart v. Gurley, 745 F.2d
1194, 1196 (9th Cir.1984).

Based upon the Debtor’s schedules, the Debtor does not claim any interest in the Property. To the extent that the
Debtor disclaim an interest in the Subject Property, the Debtor has no apparent equity in the Property and there is
no equity for the bankruptcy estate.

As a result, there is no equity in Property for the Debtor or the bankruptcy estate.

In Rem Relief

To obtain relief under 11 U.S.C. § 362(d)(4), the Court must find the existence of three elements: 1) that the
debtors’ bankruptcy was filed as part of a scheme; 2) that the object of the scheme was to delay, hinder and
defraud creditors; and 3) that the scheme involved unauthorized transfers of the property and/or multiple
bankruptcies affecting the property. 11 U.S.C. § 362(d)(4); First Yorkshire Holdings, Inc. v. Pacifica L 22, LLC (In
re First Yorkshire Holdings, Inc.), 470 B.R. 864, 870-871 (9th Cir.BAP 2012)).

Because Congress clearly intended to curb abuse of the bankruptcy system by both debtors and related third
parties, Courts are further authorized to grant relief under Section 362(d)(4) through this use of its inherent
authority set forth in 11 U.S.C. § 105(a) to prevent abuse of this process by the original borrower, debtor or
related third parties. H.R. Rep. No. 109-31(l), Part 1 at 70 (2005), 2005 WL 832198, at *138); Marrama v.
Citizens Bank of Massachusetts, 549 U.S. 365, 375 (2007). In fact, Courts have expanded the scope of
relief under Section 362(d)(4) to apply in cases filed by seemingly innocent debtors so long as the
bankruptcy is shown to be part of a larger scheme to hinder, defraud and delay the moving party. In re
4th Street Investors, Inc. 474 B.R.709, 710 (Bankr. C.D. Cal. June 29, 2012).

To prove the bad faith scheme, the moving party need only show that the instant bankruptcy was filed for an
intention other than what is sanctioned by the Code, not intentional abuse by the debtor, ill will or malicious
conduct. In re Southern Calif. Sound Systems, Inc. 69 BR 893, 901 (BC SD CA 1987). A true measure of bad
faith uses the “totality of the circumstances test,” which takes into account all facts leading up to the filing of the
bankruptcy case. Matter of Little Creek Develop. Co., 779 F2d 1068, 1072 (5th Cir. 1986). If it is obvious that
the debtor is attempting to deter and harass creditors in their bona fide efforts to realize upon their securities,
good faith does not exist. In re Arnold, supra (citing In re Thirteenth Place, Inc., 30 B.R. 503, 505 (9th Cir.BAP
1983).

Similarly the court can determine that a case was filed in bad faith based on a pattern of conduct by the parties,
and may impute bad faith from the timing and circumstances of filing. In re Eardley, No. BAPCC-08-1175
MOMKH, 2009 WL 7809924, at *6 (9th Cir.BAP May 11, 2009) (citing Eisen v. Curry (In re Eisen), 14 F.3d 469
(9th Cir.1994)); In re Craighead, 377 B.R. 648 (N.D.Cal., 2007). In absence of extraordinary circumstances,
successive or serial filings for the purpose of reimposing the automatic stay, particularly when the debtor’s
purpose is to delay a scheduled foreclosure, should not be viewed with favor by the court. In re McKissy, 103
B.R. 189, 192 (Bankr. N.D. IL 1989) (citing In re Russo, 94 B.R. 127, 129 (Bankr. N.D. IL 1988).

Here, the Debtor is the borrower under the Note and the Deed of Trust. The Debtor purportedly transferred an
interest in the Subject Property to FARIBORZ ETTILELY on or around July 5, 2017. Thereafter, there are two
AORs as stated above affecting the Subject Property. In this case, the Debtor appears to disclaim an interest in
the Subject Property by not listing the Subject Property in his schedules. The Debtor’s bankruptcy filing in



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 June 2017                                                            Page 11E                                         F 4001-1.RFS.RP.MOTION
             Case 2:18-bk-20328-BB                Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23                                      Desc
                                                  Main Document    Page 15 of 70
conjunction with the recordation of the unauthorized Deed and AORs appear to be part of a scheme to delay and
obstruct pending foreclosure proceedings for the Property, and the object of the scheme was to
fraudulently prevent foreclosure and thereby delay, hinder and defraud Movant.

Prayer for Relief:
It is Movant’s contention that absent in rem relief, the Debtor will continue to abuse the bankruptcy court to delay,
hinder and defraud the Movant.

Therefore, Movant respectfully requests this court to grant its motion in entirety, with prayer for:


   1. Relief from the stay under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
      governing notices of interests or liens in real property, the order is binding in any other case under this title
      purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the
      court, except that a debtor in a subsequent case under this title may move for relief from the order based
      upon changed circumstances or for good cause shown, after notice and hearing;

   2. The Order to be binding and effective despite any conversion of this bankruptcy case to a case under any
      other chapter of Title 11 of the United States Code;

   3. Waiver of the 14-day stay prescribed by Bankruptcy Rule 4001(a)(3); and

   4. Any other relief as determined to be appropriate by the Court.




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

 June 2017                                                            Page 11E                                         F 4001-1.RFS.RP.MOTION
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 16 of 70




               EXHIBIT “A”
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 17 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 18 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 19 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 20 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 21 of 70




               EXHIBIT “B”
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 22 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 23 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 24 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 25 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 26 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 27 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 28 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 29 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 30 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 31 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 32 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 33 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 34 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 35 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 36 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 37 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 38 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 39 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 40 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 41 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 42 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 43 of 70




               EXHIBIT “C”
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 44 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 45 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 46 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 47 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 48 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 49 of 70




               EXHIBIT “D”
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 50 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 51 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 52 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 53 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 54 of 70




               EXHIBIT “E”
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 55 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 56 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 57 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 58 of 70




               EXHIBIT “F”
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 59 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 60 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 61 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 62 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 63 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 64 of 70




               EXHIBIT “G”
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 65 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 66 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 67 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 68 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 69 of 70
Case 2:18-bk-20328-BB   Doc 11 Filed 02/22/19 Entered 02/22/19 15:04:23   Desc
                        Main Document    Page 70 of 70
